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7
                                UNITED STATES DISTRICT COURT
8                              EASTERN DISTRICT OF WASHINGTON
9     UNITED STATES OF AMERICA,
10                        Plaintiff,               NO. CR-06-2116-EFS-9
11                 v.
                                                   ORDER GRANTING THE
12    RODNEY LYNN WILLIAMSON                       GOVERNMENT'S MOTION FOR ORDER
                                                   DISMISSING INDICTMENT
13                        Defendant.
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15
          Before the Court is the Government's Motion for Order Dismissing
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     Indictment.        (Ct. Rec. 843.)     Leave of Court is given to dismiss the
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     Second Superseding Indictment (Ct. Rec. 360); the Court, however, makes
18
     no judgment as to the merit or wisdom of this dismissal.
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          Accordingly, IT IS HEREBY ORDERED:
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          1.     The     Government's     Motion    for   Order    Dismissing    Indictment
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     (Ct. Rec. 843) is GRANTED.
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          2.     The Second Superseding Indictment (Ct. Rec. 360) shall be
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     DISMISSED WITH PREJUDICE against this Defendant.
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          3.     All pending motions are DENIED AS MOOT.
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          4.     All hearing and trial dates are STRICKEN.
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     ORDER ~ 1
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1          IT IS SO ORDERED.          The District Court Executive is directed to

2    enter this Order and furnish copies to counsel and the United States

3    Probation Office.

4          DATED this         11th       day of April 2008.

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6                                    S/ Edward F. Shea
                                        EDWARD F. SHEA
7                                United States District Judge

8    Q:\Criminal\2006\2116.Indict.Dismiss.2.wpd

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     ORDER ~ 2
